"NH‘&S :?`=:' _ .

iN THE uNlTEp sTATEs DlsTRiCT COURTF w v n g

FOR THE wEsTERN olsTRlcT oF TENNESSEE.;;,._ 3 23 91,?¢!2: ch
wEsTERN Dl\/lsloN

 

 

 

UN|TED STATES OF AlVlER|CA
Plaintil"f

VS.
CR. NO. 04-20314-D

NANCY W|LL|S,
VlCKlE HERRON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABL.E DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 19, 2005. At that time1 counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a gm
date of Thursdav, June 30. 2005, at 9:00 a.m., in Courtroom 3, 9th Floor of the Federal
Building, l\/lemphis, TN.

The period from June17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this ga day Of |V|ay, 2005.

    

NECE B. D NALD
U lTED STATES D|STR|CT JUDGE

Thls document entered on the docket sheet in compliance
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th sole 55 and/or 32(b) snch on 5 ~

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UNITED TEATS DISTRIC COUR - \)VERNSTE D"RITICT 0 TENNESSEE

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This notice confirms a copy of the document docketed as number 76 in
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Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

